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Fill in this information to identify your case:

Debtor 1                 Lyndia Faye Bankston
                         First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)      First Name                  Middle Name                   Last Name

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF GEORGIA

Case number           22-54938
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

             Married
             Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                         Dates Debtor 1               Debtor 2 Prior Address:                               Dates Debtor 2
                                                         lived there                                                                        lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                              Debtor 1                                                       Debtor 2
                                              Sources of income               Gross income                   Sources of income              Gross income
                                              Check all that apply.           (before deductions and         Check all that apply.          (before deductions
                                                                              exclusions)                                                   and exclusions)

For the calendar year before that:               Wages, commissions,                        $2,726.00           Wages, commissions,
(January 1 to December 31, 2020 )                                                                            bonuses, tips
                                              bonuses, tips
                                                 Operating a business                                            Operating a business




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Debtor 1      Lyndia Faye Bankston                                                                      Case number (if known)   22-54938


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income             Gross income
                                                Describe below.                 each source                    Describe below.               (before deductions
                                                                                (before deductions and                                       and exclusions)
                                                                                exclusions)
From January 1 of current year until Social Security                                          $7,896.00
the date you filed for bankruptcy:   Benefits

                                                Pension Income                                $7,710.00

For last calendar year:                         Social Security                             $15,792.00
(January 1 to December 31, 2021 )               Benefits

                                                Pension Income                              $15,420.00

For the calendar year before that:              Social Security                             $16,615.00
(January 1 to December 31, 2020 )               Benefits

                                                Pension Income                              $15,420.00

                                                Unemployment                                $10,104.00


Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                                an attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                 paid            still owe




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      Creditor's Name and Address                         Dates of payment              Total amount          Amount you          Was this payment for ...
                                                                                                paid            still owe
      Renaissance Garden Walk                             6/2022 $1250.00                        $0.00                   $0.00      Mortgage
      669 Garden Walk BLVD                                5/2022 $1250.00                                                           Car
      Atlanta, GA 30349                                   4/2022 $1250.00                                                           Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other Residential Lease


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
     including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
     support and alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                          Dates of payment              Total amount          Amount you          Reason for this payment
                                                                                                paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                          Dates of payment              Total amount          Amount you          Reason for this payment
                                                                                                paid            still owe         Include creditor's name

Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                          Nature of the case           Court or agency                            Status of the case
      Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                           Describe the Property                                            Date                        Value of the
                                                                                                                                                          property
                                                          Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                           Describe the action the creditor took                            Date action was                 Amount
                                                                                                                           taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes


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Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                  Describe the gifts                                        Dates you gave                    Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total              Describe what you contributed                             Dates you                         Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your         Value of property
      how the loss occurred                              Include the amount that insurance has paid. List                   loss                              lost
                                                         pending insurance claims on line 33 of Schedule A/B:
                                                         Property.

Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                         Description and value of any property                     Date payment               Amount of
      Address                                                     transferred                                               or transfer was             payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
      Stretto                                                     $20.00 Credit Counseling Fee                              6/24/2022                      $48.00
      4540 Honeywell Court                                        $28.00 Credit Report
      Dayton, OH 45424
      Burrow and Associates


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                         Description and value of any property                     Date payment               Amount of
      Address                                                     transferred                                               or transfer was             payment
                                                                                                                            made




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18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
      Person Who Received Transfer                                Description and value of                    Describe any property or        Date transfer was
      Address                                                     property transferred                        payments received or debts      made
                                                                                                              paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                               Description and value of the property transferred                           Date Transfer was
                                                                                                                                              made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of              Type of account or         Date account was             Last balance
      Address (Number, Street, City, State and ZIP           account number                instrument                 closed, sold,            before closing or
      Code)                                                                                                           moved, or                         transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                               Who else had access to it?              Describe the contents                 Do you still
      Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City,                                                have it?
                                                                  State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                    Who else has or had access              Describe the contents                 Do you still
      Address (Number, Street, City, State and ZIP Code)          to it?                                                                        have it?
                                                                  Address (Number, Street, City,
                                                                  State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                                Where is the property?                  Describe the property                             Value
      Address (Number, Street, City, State and ZIP Code)          (Number, Street, City, State and ZIP
                                                                  Code)

Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
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Debtor 1      Lyndia Faye Bankston                                                                         Case number (if known)   22-54938


     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                              Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)        Address (Number, Street, City, State and      know it
                                                                ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                              Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)        Address (Number, Street, City, State and      know it
                                                                ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                Court or agency                            Nature of the case                   Status of the
      Case Number                                               Name                                                                            case
                                                                Address (Number, Street, City,
                                                                State and ZIP Code)

Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                        Describe the nature of the business                  Employer Identification number
      Address                                                                                                   Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.
      Name                                                 Date Issued
      Address
      (Number, Street, City, State and ZIP Code)

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
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Debtor 1      Lyndia Faye Bankston                                                              Case number (if known)   22-54938


are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Lyndia Faye Bankston
Lyndia Faye Bankston                                        Signature of Debtor 2
Signature of Debtor 1

Date     July 29, 2022                                      Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person        . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case and this filing:

Debtor 1                    Lyndia Faye Bankston
                            First Name                  Middle Name                      Last Name

Debtor 2
(Spouse, if filing)         First Name                  Middle Name                      Last Name

United States Bankruptcy Court for the:          NORTHERN DISTRICT OF GEORGIA

Case number           22-54938                                                                                                                          Check if this is an
                                                                                                                                                        amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                 12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think
it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:       Nissan                               Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:
          Model:      Altima                                   Debtor 1 only                                              Creditors Who Have Claims Secured by Property.
          Year:       2015                                     Debtor 2 only                                              Current value of the      Current value of the
          Approximate mileage:             146000              Debtor 1 and Debtor 2 only                                 entire property?          portion you own?
          Other information:                                   At least one of the debtors and another


                                                               Check if this is community property                                  $6,825.00                  $6,825.00
                                                               (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                $6,825.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.



Official Form 106A/B                                                   Schedule A/B: Property                                                                          page 1
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Debtor 1     Lyndia Faye Bankston                                                                   Case number (if known)    22-54938
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                              Furniture , Appliances and Household Goods                                                                       $1,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                              Electronics                                                                                                      $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                              Wearing Apparel                                                                                                     $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                              Jewelry                                                                                                             $100.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                       $3,100.00



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Debtor 1        Lyndia Faye Bankston                                                                                           Case number (if known)   22-54938

Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                               Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................

                                                                                                                                  Cash                                  $100.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                   Institution name:


                                           17.1.      Checking                               Delta Federal Credit Union                                                 $150.00



                                           17.2.      Savings                                Delta Federal Credit Union                                                 $150.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                          Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
    and joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                                % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                              Type of account:                                               Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                                             Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No

Official Form 106A/B                                                                  Schedule A/B: Property                                                                 page 3
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      Yes.............     Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                               Beneficiary:                             Surrender or refund
                                                                                                                                    value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
      No
      Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
      Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      No
      Yes. Describe each claim.........

35. Any financial assets you did not already list
      No
      Yes. Give specific information..

Official Form 106A/B                                         Schedule A/B: Property                                                                     page 4
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Debtor 1         Lyndia Faye Bankston                                                                                              Case number (if known)      22-54938

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................                 $400.00


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.



Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00

Part 8:        List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ......................................................................................................................                      $0.00
56. Part 2: Total vehicles, line 5                                                                          $6,825.00
57. Part 3: Total personal and household items, line 15                                                     $3,100.00
58. Part 4: Total financial assets, line 36                                                                  $400.00
59. Part 5: Total business-related property, line 45                                                            $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                   $0.00
61. Part 7: Total other property not listed, line 54                                          +                 $0.00

62. Total personal property. Add lines 56 through 61...                                                   $10,325.00             Copy personal property total               $10,325.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                          $10,325.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                              page 5
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Fill in this information to identify your case:

Debtor 1                Lyndia Faye Bankston
                        First Name                     Middle Name                 Last Name

Debtor 2
(Spouse if, filing)     First Name                     Middle Name                 Last Name

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF GEORGIA

Case number           22-54938
(if known)                                                                                                                            Check if this is an
                                                                                                                                      amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                portion you own
                                                          Copy the value from    Check only one box for each exemption.
                                                          Schedule A/B

     2015 Nissan Altima 146000 miles                             $6,825.00                                  $5,000.00     O.C.G.A. § 44-13-100(a)(3)
     Line from Schedule A/B: 3.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     2015 Nissan Altima 146000 miles                             $6,825.00                                  $1,825.00     O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 3.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     Furniture , Appliances and                                  $1,500.00                                  $1,500.00     O.C.G.A. § 44-13-100(a)(4)
     Household Goods
     Line from Schedule A/B: 6.1                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     Electronics                                                 $1,000.00                                  $1,000.00     O.C.G.A. § 44-13-100(a)(4)
     Line from Schedule A/B: 7.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     Wearing Apparel                                                 $500.00                                  $500.00     O.C.G.A. § 44-13-100(a)(4)
     Line from Schedule A/B: 11.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit




Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                    page 1 of 2
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Debtor 1    Lyndia Faye Bankston                                                                   Case number (if known)     22-54938
    Brief description of the property and line on        Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property                portion you own
                                                         Copy the value from    Check only one box for each exemption.
                                                         Schedule A/B

    Jewelry                                                        $100.00                                   $100.00        O.C.G.A. § 44-13-100(a)(5)
    Line from Schedule A/B: 12.1
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Cash                                                           $100.00                                   $100.00        O.C.G.A. § 44-13-100(a)(6)
    Line from Schedule A/B: 16.1
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Checking: Delta Federal Credit Union                           $150.00                                   $150.00        O.C.G.A. § 44-13-100(a)(6)
    Line from Schedule A/B: 17.1
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Savings: Delta Federal Credit Union                            $150.00                                   $150.00        O.C.G.A. § 44-13-100(a)(6)
    Line from Schedule A/B: 17.2
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                                  Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
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Fill in this information to identify your case:

Debtor 1                Lyndia Faye Bankston
                        First Name                     Middle Name                   Last Name

Debtor 2
(Spouse if, filing)     First Name                     Middle Name                   Last Name

United States Bankruptcy Court for the:          NORTHERN DISTRICT OF GEORGIA

Case number           22-54938
(if known)                                                                                                                                 Check if this is an
                                                                                                                                           amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?

          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.




Official Form 106D                           Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 1
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Fill in this information to identify your case:

Debtor 1                     Lyndia Faye Bankston
                             First Name                     Middle Name                       Last Name

Debtor 2
(Spouse if, filing)          First Name                     Middle Name                       Last Name

United States Bankruptcy Court for the:                NORTHERN DISTRICT OF GEORGIA

Case number           22-54938
(if known)                                                                                                                                              Check if this is an
                                                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and case
number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
      1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim           Priority            Nonpriority
                                                                                                                                             amount              amount
2.1          Georgia Department of Revenue                        Last 4 digits of account number                                    $0.00              $0.00                  $0.00
             Priority Creditor's Name
             Compliance Division                                  When was the debt incurred?
             ARCS Bankruptcy
             1800 Century Blvd. NE, Suite 9100
             Atlanta, GA 30345-3202
             Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                              Contingent
             Debtor 1 only                                            Unliquidated
             Debtor 2 only                                            Disputed
             Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

             At least one of the debtors and another                  Domestic support obligations

             Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                Claims for death or personal injury while you were intoxicated
             No                                                       Other. Specify
             Yes                                                                        Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 9
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Debtor 1 Lyndia Faye Bankston                                                                           Case number (if known)             22-54938

2.2        Internal Revenue Service                              Last 4 digits of account number                                  $0.00                $0.00                 $0.00
           Priority Creditor's Name
           P.O. Box 7346                                         When was the debt incurred?
           Philadelphia, PA 19101-7346
           Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                            Contingent
           Debtor 1 only                                            Unliquidated
           Debtor 2 only                                            Disputed
           Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

           At least one of the debtors and another                  Domestic support obligations

           Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                              Claims for death or personal injury while you were intoxicated
           No                                                       Other. Specify
           Yes                                                                         Notice Only


Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured
      claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one
      creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.
                                                                                                                                                          Total claim

4.1        1st Franklin Financial                                   Last 4 digits of account number        0600                                                       $3,176.00
           Nonpriority Creditor's Name
           135 E. Tugalo Street                                                                            Opened 06/20 Last Active
           Po Box 880                                               When was the debt incurred?            5/27/22
           Toccoa, GA 30577
           Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                       Contingent
                Debtor 1 only
                                                                       Unliquidated
                Debtor 2 only
                                                                       Disputed
                Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
                At least one of the debtors and another                Student loans
                Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                          report as priority claims

                No                                                     Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                    Other. Specify    Unsecured




Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 2 of 9
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Debtor 1 Lyndia Faye Bankston                                                                        Case number (if known)             22-54938

4.2       CBA Tifton                                             Last 4 digits of account number       9185                                                  $32.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 01/19 Last Active
          321 Main St S                                          When was the debt incurred?           09/18
          Tifton, GA 31794
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify


4.3       CFNA/Credit First Natl Assoc                           Last 4 digits of account number       4624                                               $1,593.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 10/19 Last Active
          Po Box 81315                                           When was the debt incurred?           06/22
          Cleveland, OH 44181
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Charge Account


4.4       Citibank/Best Buy                                      Last 4 digits of account number       5449                                                $599.00
          Nonpriority Creditor's Name
          Citicorp Credit Srvs/Centralized Bk                                                          Opened 12/14 Last Active
          dept                                                   When was the debt incurred?           06/22
          Po Box 790034
          St Louis, MO 63179
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Charge Account




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 9
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Debtor 1 Lyndia Faye Bankston                                                                        Case number (if known)             22-54938

4.5       Credit One Bank                                        Last 4 digits of account number       7341                                               $2,334.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                  Opened 05/10 Last Active
          Po Box 98873                                           When was the debt incurred?           06/22
          Las Vegas, NV 89193
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.6       Credit One Bank                                        Last 4 digits of account number       9385                                               $1,050.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                  Opened 06/19 Last Active
          Po Box 98873                                           When was the debt incurred?           06/22
          Las Vegas, NV 89193
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.7       Delta Community Credit Union                           Last 4 digits of account number       0090                                                $401.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 11/14 Last Active
          3250 Riverwood Parkway                                 When was the debt incurred?           06/22
          Atlanta, GA 30339
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 9
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Debtor 1 Lyndia Faye Bankston                                                                        Case number (if known)             22-54938

4.8       Genesis Bankcard Services                              Last 4 digits of account number       5743                                                $114.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 12/21 Last Active
          Po Box 4477                                            When was the debt incurred?           06/22
          Beaverton, OR 97076
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.9       Macys/fdsb                                             Last 4 digits of account number       4611                                                $499.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 12/13 Last Active
          9111 Duke Boulevard                                    When was the debt incurred?           06/22
          Mason, OH 45040
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Charge Account


4.10      Navient Solutions Inc                                  Last 4 digits of account number       0709                                              $21,325.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 07/10 Last Active
          P.O. Box 9500                                          When was the debt incurred?           5/23/22
          Wilkes-Barre, PA 18773
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only                                          Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify
                                                                                     Educational




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 9
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Debtor 1 Lyndia Faye Bankston                                                                        Case number (if known)             22-54938

4.11      Navient Solutions Inc                                  Last 4 digits of account number       0520                                              $20,105.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 05/11 Last Active
          P.O. Box 9500                                          When was the debt incurred?           5/23/22
          Wilkes-Barre, PA 18773
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only                                          Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify
                                                                                     Educational
4.12      Navient Solutions Inc                                  Last 4 digits of account number       1218                                              $11,913.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 12/08 Last Active
          P.O. Box 9500                                          When was the debt incurred?           5/23/22
          Wilkes-Barre, PA 18773
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only                                          Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify
                                                                                     Educational
4.13      Navient Solutions Inc                                  Last 4 digits of account number       1218                                              $11,902.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 12/08 Last Active
          P.O. Box 9500                                          When was the debt incurred?           5/23/22
          Wilkes-Barre, PA 18773
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only                                          Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify
                                                                                     Educational




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 9
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Debtor 1 Lyndia Faye Bankston                                                                        Case number (if known)             22-54938

4.14      Navient Solutions Inc                                  Last 4 digits of account number       0520                                              $11,378.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 05/11 Last Active
          P.O. Box 9500                                          When was the debt incurred?           5/23/22
          Wilkes-Barre, PA 18773
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only                                          Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify
                                                                                     Educational
4.15      Navient Solutions Inc                                  Last 4 digits of account number       0709                                              $11,378.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 07/10 Last Active
          P.O. Box 9500                                          When was the debt incurred?           5/23/22
          Wilkes-Barre, PA 18773
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only                                          Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify
                                                                                     Educational
4.16      Nelnet Loans                                           Last 4 digits of account number       5624                                              $46,756.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Claims                                                                      Opened 02/05 Last Active
          Po Box 82505                                           When was the debt incurred?           5/31/22
          Lincoln, NE 68501
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only                                          Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify
                                                                                     Educational




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 9
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Debtor 1 Lyndia Faye Bankston                                                                        Case number (if known)             22-54938

4.17      Nelnet Loans                                           Last 4 digits of account number       5524                                              $30,333.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Claims                                                                      Opened 02/05 Last Active
          Po Box 82505                                           When was the debt incurred?           5/31/22
          Lincoln, NE 68501
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only                                          Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify
                                                                                     Educational
4.18      Republic Finance Llc-1                                 Last 4 digits of account number       8265                                               $4,686.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 12/21 Last Active
          4733 Jonesboro Road, Suite 110                         When was the debt incurred?           06/22
          Union City, GA 30291
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Note Loan


4.19      Sunset Finance of McDonough                            Last 4 digits of account number       2845                                                $900.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 11/22/21 Last Active
          256 Keys Ferry Street                                  When was the debt incurred?           5/02/22
          McDonough, GA 30253
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Note Loan




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 8 of 9
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Debtor 1 Lyndia Faye Bankston                                                                             Case number (if known)             22-54938

4.20      Synchrony/PayPal Credit                                   Last 4 digits of account number         1367                                              $1,712.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                  Opened 05/16 Last Active
          Po Box 965060                                             When was the debt incurred?             6/09/22
          Orlando, FL 32896
          Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                         Contingent
             Debtor 1 only
                                                                         Unliquidated
             Debtor 2 only
                                                                         Disputed
             Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                     Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

             No                                                          Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                         Other. Specify   Credit Card

Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is
   trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have
   more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for
   any debts in Parts 1 or 2, do not fill out or submit this page.

Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each type
   of unsecured claim.

                                                                                                                                  Total Claim
                        6a.   Domestic support obligations                                                   6a.       $                           0.00
Total claims
from Part 1             6b.   Taxes and certain other debts you owe the government                           6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                 6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.        6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                       6e.       $                           0.00

                                                                                                                                  Total Claim
                        6f.   Student loans                                                                  6f.       $                     165,090.00
Total claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that you
                              did not report as priority claims                                              6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts              6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount here. 6i.           $                      17,096.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                    6j.       $                     182,186.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 9 of 9
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Fill in this information to identify your case:

Debtor 1                  Lyndia Faye Bankston
                          First Name                         Middle Name           Last Name

Debtor 2
(Spouse if, filing)       First Name                         Middle Name           Last Name

United States Bankruptcy Court for the:               NORTHERN DISTRICT OF GEORGIA

Case number           22-54938
(if known)                                                                                                                            Check if this is an
                                                                                                                                      amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


       Person or company with whom you have the contract or lease                     State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      Renaissance Garden Walk                                                    Residential Lease
              669 Garden Walk BLVD
              Atlanta, GA 30349




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                   Lyndia Faye Bankston
                           First Name                           Middle Name        Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name        Last Name

United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF GEORGIA

Case number           22-54938
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to
     fill out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:

   3.1                                                                                               Schedule D, line
               Name
                                                                                                     Schedule E/F, line
                                                                                                     Schedule G, line
               Number             Street
               City                                     State                       ZIP Code




   3.2                                                                                               Schedule D, line
               Name
                                                                                                     Schedule E/F, line
                                                                                                     Schedule G, line
               Number             Street
               City                                     State                       ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Lyndia Faye Bankston

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA

Case number               22-54938                                                                     Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.

                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.    $              0.00       $            N/A

3.     Estimate and list monthly overtime pay.                                             3.   +$              0.00       +$           N/A

4.     Calculate gross Income. Add line 2 + line 3.                                        4.    $           0.00              $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Lyndia Faye Bankston                                                                 Case number (if known)   22-54938


                                                                                                  For Debtor 1            For Debtor 2 or
                                                                                                                          non-filing spouse
     Copy line 4 here                                                                     4.      $              0.00     $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.     $              0.00     $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.     $              0.00     $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.     $              0.00     $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.     $              0.00     $               N/A
     5e.    Insurance                                                                     5e.     $              0.00     $               N/A
     5f.    Domestic support obligations                                                  5f.     $              0.00     $               N/A
     5g.    Union dues                                                                    5g.     $              0.00     $               N/A
     5h.    Other deductions. Specify:                                                    5h.+    $              0.00 +   $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $               0.00     $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $               0.00     $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.     $              0.00     $               N/A
     8b. Interest and dividends                                                           8b.     $              0.00     $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.     $             0.00      $               N/A
     8d. Unemployment compensation                                                        8d.     $             0.00      $               N/A
     8e. Social Security                                                                  8e.     $         1,316.00      $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                0.00   $                  N/A
     8g. Pension or retirement income                                                     8g. $             1,285.00   $                  N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                0.00 + $                  N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,601.00      $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $           2,601.00 + $             N/A = $           2,601.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                     12.   $          2,601.00
                                                                                                                                      Combined
                                                                                                                                      monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                    Schedule I: Your Income                                                     page 2
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Fill in this information to identify your case:

Debtor 1                 Lyndia Faye Bankston                                                               Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing postpetition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA                                               MM / DD / YYYY

Case number           22-54938
(If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,250.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                                0.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                                0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
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Debtor 1     Lyndia Faye Bankston                                                                       Case number (if known)       22-54938

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                                     50.00
      6b. Water, sewer, garbage collection                                                  6b. $                                                      0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                    116.00
      6d. Other. Specify:                                                                   6d. $                                                      0.00
7.    Food and housekeeping supplies                                                          7. $                                                   250.00
8.    Childcare and children’s education costs                                                8. $                                                     0.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                   125.00
10.   Personal care products and services                                                   10. $                                                    150.00
11.   Medical and dental expenses                                                           11. $                                                    100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                    350.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                      0.00
14.   Charitable contributions and religious donations                                      14. $                                                      0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     30.00
      15b. Health insurance                                                                15b. $                                                      0.00
      15c. Vehicle insurance                                                               15c. $                                                    157.00
      15d. Other insurance. Specify:                                                       15d. $                                                      0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                       0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                       0.00
      17c. Other. Specify:                                                                 17c. $                                                       0.00
      17d. Other. Specify:                                                                 17d. $                                                       0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).       18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                       0.00
      20b. Real estate taxes                                                               20b. $                                                       0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                       0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                       0.00
21.   Other: Specify:                                                                       21. +$                                                      0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                       2,578.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                       2,578.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               2,601.00
    23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                              2,578.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                   23.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                   Schedule J: Your Expenses                                                                     page 2
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                                                          United States Bankruptcy Court
                                                                Northern District of Georgia
In re      Lyndia Faye Bankston                                                                                 Case No.   22-54938
                                                                               Debtor(s)                        Chapter    7


                                              BUSINESS INCOME AND EXPENSES
        FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:
         1. Gross Income For 12 Months Prior to Filing:                                                     $               0.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
         2. Gross Monthly Income                                                                                               $                 0.00
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:
         3. Net Employee Payroll (Other Than Debtor)                                                        $               0.00
         4. Payroll Taxes                                                                                                   0.00
         5. Unemployment Taxes                                                                                              0.00
         6. Worker's Compensation                                                                                           0.00
         7. Other Taxes                                                                                                     0.00
         8. Inventory Purchases (Including raw materials)                                                                   0.00
         9. Purchase of Feed/Fertilizer/Seed/Spray                                                                          0.00
         10. Rent (Other than debtor's principal residence)                                                                 0.00
         11. Utilities                                                                                                      0.00
         12. Office Expenses and Supplies                                                                                   0.00
         13. Repairs and Maintenance                                                                                        0.00
         14. Vehicle Expenses                                                                                               0.00
         15. Travel and Entertainment                                                                                       0.00
         16. Equipment Rental and Leases                                                                                    0.00
         17. Legal/Accounting/Other Professional Fees                                                                       0.00
         18. Insurance                                                                                                      0.00
         19. Employee Benefits (e.g., pension, medical, etc.)                                                               0.00
         20. Payments to Be Made Directly By Debtor to Secured Creditors For Pre-Petition Business Debts (Specify):

                 DESCRIPTION                                                                     TOTAL

         21. Other (Specify):

                 DESCRIPTION                                                                     TOTAL

         22. Total Monthly Expenses (Add items 3-21)                                                                           $                 0.00
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
         23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2)                                                         $                 0.00
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Fill in this information to identify your case:

Debtor 1                 Lyndia Faye Bankston
                         First Name               Middle Name              Last Name

Debtor 2
(Spouse if, filing)      First Name               Middle Name              Last Name

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF GEORGIA

Case number           22-54938
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                  Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Lyndia Faye Bankston                                          X
             Lyndia Faye Bankston                                              Signature of Debtor 2
             Signature of Debtor 1

             Date     July 29, 2022                                            Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
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Fill in this information to identify your case:

Debtor 1                  Lyndia Faye Bankston
                          First Name                           Middle Name                         Last Name

Debtor 2
(Spouse if, filing)       First Name                           Middle Name                         Last Name

United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF GEORGIA

Case number           22-54938
(if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              10,325.00

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              10,325.00

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $                      0.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             182,186.00


                                                                                                                                 Your total liabilities $                  182,186.00


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $               2,601.00

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $               2,578.00

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
Official Form 106Sum                   Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1 of 2
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Debtor 1    Lyndia Faye Bankston                                                       Case number (if known) 22-54938
           the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                              $                     1,285.00


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                  0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

     9d. Student loans. (Copy line 6f.)                                                                 $            165,090.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $                  0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


     9g. Total. Add lines 9a through 9f.                                                           $           165,090.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
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B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                                 Northern District of Georgia
 In re       Lyndia Faye Bankston                                                                                                                  Case No.
                                                                                                          Debtor(s)                                Chapter    7

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                                                      $                  1,400.00
              Prior to the filing of this statement I have received                                                                            $                      0.00
              Balance Due                                                                                                                      $                  1,400.00

2.     Additional amounts due:

            Court Filing Fee ...............................................................................................................   $                   338.00

            Credit Counseling Fee ......................................................................................................       $                    20.00

            Credit Report Fee .............................................................................................................    $                    28.00

            Total Balance Due on Fees ............................................................................................             $              1,786.00

3.     The source of the compensation paid to me was:
                    Debtor                     Other (specify):

4.     The source of compensation to be paid to me is:
                    Debtor                     Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Exemption Planning
                 Stopping creditor actions against Client
                 Negotiations with secured creditors to reduce to market value
                 Preparation and filing of Reaffirmation Agreements and Applications
                 Change of Address Filings

                    Representation at the meeting of creditors and confirmation hearings may be by an attorney on staff with Burrow
                    & Associates, LLC or an attorney with whom Burrow & Associates, LLC has contracted to provide services.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Filing any Judicial Lien Avoidances
               Filing any Lien Avoidances on Household Goods
               Filing any Motions to Redeem Property
               Representation of the Debtor in any Adversary Proceedings
               Representation of the Debtor in any Dischargeability Actions
               Representation of the Debtor in any Motion Hearings
               Representation of the Debtor at any Rule 2004 Examination
               Representation of the Debtor in any Fraudlent Transfer Actions
               Representation of the Debtor in any Trustee's Motion to Dismiss Actions
               Representation of the Debtor in any Complaint to Avoid Transfer of Property
               Representation of the Debtor in any Stay Relief Actions


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 In re       Lyndia Faye Bankston                                                                         Case No.
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
8.       Client desires to file a petition under Chapter 7 of the Bankruptcy Code. Client is unable to pay the Attorney fee in full prior to filing the case.
         Client acknowledges that there is a split of authority nationwide regarding the propriety of accepting post-petition payments for Chapter 7
         attorney fees. Client further acknowledges that the Northern District of Georgia is in the minority of the Courts that does allow these
         post-petition payments.
         Client has agreed to allow the attorney fees to be paid in installments commencing on the date set forth in the agreement between Client and
         Burrow & Associates, LLC. Client agrees that the fees shall be deducted from Client's bank account at a frequency and amount specified in
         the agreement between Client and Burrow & Associates, LLC until paid in full.
         Client agrees that if garnished funds are recovered by Burrow & Associates, LLC on behalf of Client, those funds shall be first applied to the
         balance owed on Attorney fees and the remainder will be paid to the Client. Client agrees to cooperate in the processing of any check
         regarding the recovered funds.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 24, 2022                                                              /s/ Michael F. Burrow
     Date                                                                       Michael F. Burrow 317998
                                                                                Signature of Attorney
                                                                                Burrow & Associates, LLC
                                                                                2280 Satellite Blvd.
                                                                                Bldg. A, Suite 100
                                                                                Duluth, GA 30097
                                                                                678-942-8640 Fax: 678-745-0412
                                                                                bankruptcy@legalatlanta.com
                                                                                Name of law firm




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Fill in this information to identify your case:

Debtor 1                Lyndia Faye Bankston
                        First Name                Middle Name               Last Name

Debtor 2
(Spouse if, filing)     First Name                Middle Name               Last Name

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF GEORGIA

Case number           22-54938
(if known)                                                                                                              Check if this is an
                                                                                                                        amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                           12/15


If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral What do you intend to do with the property that    Did you claim the property
                                                              secures a debt?                                    as exempt on Schedule C?

   Creditor's                                                      Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes
   Description of                                                  Reaffirmation Agreement.
   property                                                        Retain the property and [explain]:
   securing debt:

   Creditor's                                                      Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes
   Description of                                                  Reaffirmation Agreement.
   property                                                        Retain the property and [explain]:
   securing debt:

   Creditor's                                                      Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes
   Description of                                                  Reaffirmation Agreement.
   property                                                        Retain the property and [explain]:
   securing debt:

   Creditor's                                                      Surrender the property.                             No


Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                                    page 1
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Debtor 1      Lyndia Faye Bankston                                                         Case number (if known)    22-54938

    name:                                                        Retain the property and redeem it.
                                                                 Retain the property and enter into a                        Yes
    Description of                                               Reaffirmation Agreement.
    property                                                     Retain the property and [explain]:
    securing debt:



 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases                                                                    Will the lease be assumed?

Lessor's name:            Renaissance Garden Walk                                                                      No

                                                                                                                       Yes

Description of leased     Residential Lease
Property:


Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X     /s/ Lyndia Faye Bankston                                           X
      Lyndia Faye Bankston                                                   Signature of Debtor 2
      Signature of Debtor 1

      Date       July 29, 2022                                           Date




Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                      page 2
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Fill in this information to identify your case:                                                      Check one box only as directed in this form and in Form
                                                                                                     122A-1Supp:
Debtor 1              Lyndia Faye Bankston
Debtor 2                                                                                                     1. There is no presumption of abuse
(Spouse, if filing)

United States Bankruptcy Court for the:         Northern District of Georgia                                 2. The calculation to determine if a presumption of abuse
                                                                                                                 applies will be made under Chapter 7 Means Test
                                                                                                                 Calculation (Official Form 122A-2).
Case number           22-54938
(if known)                                                                                                   3. The Means Test does not apply now because of
                                                                                                                qualified military service but it could apply later.
                                                                                                             Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                     12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

Part 1:          Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             Married and your spouse is NOT filing with you. You and your spouse are:
                Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
   6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own
   the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A                   Column B
                                                                                                         Debtor 1                   Debtor 2 or
                                                                                                                                    non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
     all payroll deductions).                                                           $                                0.00       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                0.00       $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                0.00       $
  5. Net income from operating a business, profession, or farm
                                                                      Debtor 1
       Gross receipts (before all deductions)                           $       0.00
       Ordinary and necessary operating expenses                        -$      0.00
       Net monthly income from a business, profession, or farm $                0.00 Copy here -> $                      0.00       $
  6. Net income from rental and other real property
                                                                                  Debtor 1
       Gross receipts (before all deductions)                           $       0.00
       Ordinary and necessary operating expenses                        -$      0.00
       Net monthly income from rental or other real property            $       0.00 Copy here -> $                      0.00       $
                                                                                                         $               0.00       $
  7. Interest, dividends, and royalties




Official Form 122A-1                                 Chapter 7 Statement of Your Current Monthly Income                                                            page 1
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Debtor 1     Lyndia Faye Bankston                                                                   Case number (if known)   22-54938


                                                                                                Column A                     Column B
                                                                                                Debtor 1                     Debtor 2 or
                                                                                                                             non-filing spouse
  8. Unemployment compensation                                                                  $                  0.00      $
      Do not enter the amount if you contend that the amount received was a benefit
      under the Social Security Act. Instead, list it here:
        For you                                             $                 0.00
           For your spouse                                     $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence,
      do not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any
      retired pay paid under chapter 61 of title 10, then include that pay only to the extent
      that it does not exceed the amount of retired pay to which you would otherwise be
      entitled if retired under any provision of title 10 other than chapter 61 of that title. $             1,285.00        $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation pension, pay, annuity, or allowance paid by
      the United States Government in connection with a disability, combat-related injury
      or disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below..
              .                                                                                $                   0.00      $
                                                                                                $                  0.00      $
                Total amounts from separate pages, if any.                                 +    $                  0.00      $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.          $       1,285.00          +$                      =$       1,285.00

                                                                                                                                          Total current monthly
                                                                                                                                          income

Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
      12a. Copy your total current monthly income from line 11                                            Copy line 11 here=>             $       1,285.00

             Multiply by 12 (the number of months in a year)                                                                                  x 12
      12b. The result is your annual income for this part of the form                                                              12b. $        15,420.00

  13. Calculate the median family income that applies to you. Follow these steps:

      Fill in the state in which you live.                              GA

      Fill in the number of people in your household.                    1
      Fill in the median family income for your state and size of household.                                                       13.    $      55,600.00
      To find a list of applicable median income amounts, go online using the link specified in the separate instructions
      for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
      14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                    Go to Part 3. Do NOT fill out or file Official Form 122A-2.
      14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.
Part 3:        Sign Below
             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

            X /s/ Lyndia Faye Bankston
               Lyndia Faye Bankston
               Signature of Debtor 1


Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                    page 2
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Debtor 1    Lyndia Faye Bankston                                                          Case number (if known)   22-54938
       Date July 29, 2022
            MM / DD / YYYY
            If you checked line 14a, do NOT fill out or file Form 122A-2.
            If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                   page 3
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Debtor 1    Lyndia Faye Bankston                                                  Case number (if known)   22-54938


                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 01/01/2022 to 06/30/2022.

Line 9 - Pension and retirement income
Source of Income: Pension
Constant income of $1,285.00 per month.



Non-CMI - Social Security Act Income
Source of Income: Social Security
Constant income of $1,316.00 per month.




Official Form 122A-1                      Chapter 7 Statement of Your Current Monthly Income                                   page 4
